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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
v.                                                 §        3:22-CR-378-N
                                                   §
RAYNALDO RIVERA ORTIZ, JR,                         §

                                     MOTION FOR SANCTIONS

        Under Brady [v. Marlyand, 373 U.S. 383 (1963),] and its progeny, due process requires

that the prosecution disclose evidence that is both favorable to the defendant and material to guilt

or punishment.” Floyd v. Vannoy, 894 F.3d 143, 161 (5th Cir. 2018). “This duty to disclose exists

irrespective of a request from the defense, and extends to all evidence known not just to the

prosecutors, but ‘to the others acting on the government's behalf in the case, including the

police.’” Floyd, 894 F.3d at 161 (citing United States v. Agurs, 427 U.S. 97, 107 (1976), and

Kyles v. Whitley, 514 U.S. 419, 437 (1995)).

        This Court ordered the production of Brady material 35 days prior to trial, which in this

case fell on February 26, 2024. E.C.F. doc. 47. On December 29, 2023, Dallas Police Department

Forensic Fingerprint Expert Elizabeth Molina authored a report documenting her examination of

latent fingerprints taken from IV bag evidence in this case. The IV bag presumably came from

the surgery of J.A., a surgery referenced in the Indictment. 1 That report states that Ms. Molina

was able to identify one print of value; that the print was, however, of insufficient quality to run

through the AFIS database; that it may be of sufficient quality for comparison to known prints;

and that the detective and/or the government could provide individual comparison prints for



1
 Relevant crime scene reports, ROIs, and/or chain of custody documents have not been provided to allow the
defense to provide more speciﬁcity.
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further examination. The government timely produced this report, providing it to the defense

on February 12, 2024.

       However, on January 8, 2024, Ms. Molina had authored a second report that detailed her

comparison of the latent of value to the Defendant’s known prints. That reports states that

“Raynaldo Ortiz, Jr. was excluded as the source of latent print [examined].” On January 10,

2024, the examiner emailed Detective Watson, alerting her to the completion of the report and

providing access thereto.

       Subsequent to receiving the government’s February 12, 2024, production of the first,

inconclusive report, the undersigned sent a letter to the prosecutors on February 20, 2024, asking

whether there were any additional reports or experts regarding the fingerprints. Exhibit A

(counsel redacted the portions of this correspondence not pertaining to the instant issue). On

February 26, 2024, a prosecutor in this case denied knowledge of any further report

regarding the fingerprint. The letter said:

       We do not know of any additional reports concerning the fingerprinting, and we
       do not expect to list any fingerprint experts for testimony in the government’s
       case-in-chief. We do reserve the right to call the DPD fingerprint expert in
       rebuttal, if necessary.

Exhibit B (counsel redacted the portions of this correspondence not pertaining to the
instant issue).

       The United States Attorney’s Office never turned over the January 8, 2024, report

excluding the defendant as the source of the latent print. Last Friday, the undersigned counsel

obtained it directly from the print examiner.

       This chain of events establishes a violation of the court’s scheduling order. The material

is plainly Brady. A fingerprint report excluding the Defendant from a print on the instrumentality

of the crime is almost quintessentially favorable. See Floyd, 894 F.3d at 162-164.



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       Further, the report is of sufficient moment to qualify as material. The report shows that

someone other than Defendant handled the IV bag and did so under conditions that permitted the

development of a latent fingerprint. Of course, the fact that one person who handled the bag left

a fingerprint does not necessarily imply that anyone else who did so would also leave a latent

print. However, the development of a latent print is affected by the condition of the surface as

well as the donor. See Brian Yamashita and Mike French, Fingerprint Sourcebook: Ch. 7, Latent

Print Development, p. 7-4 (2011)(“Transfer conditions also dictate whether a suitable impression

will be left. These are the conditions of the surface (substrate) being touched, including texture,

surface area, surface curvature or shape, surface temperature, condensation, contaminants, and

surface residues.”), available at https://www.ojp.gov/pdffiles1/nij/225327.pdf, last visited March

11, 2024. As such, the presence of another person’s latent print on the bag at least increases the

likelihood that the defendant would have left a print if he had touched the bag. And the fact that

the print remains unidentified raises additional doubt about the prosecution’s case.

       Finally, the report appears to have been in the constructive possession of the prosecution.

On January 10, 2024, the examiner notified a lead Detective in the State’s parallel homicide

investigation of its completion. Exhibit C. More importantly, emails between the Detective and

the examiner makes clear that the reports originated from federal requests, and that the federal

investigating agency had been in continuous contact with the Detective regarding the

development and comparison of the prints. The email says:

       Seth told me you were running the fingerprints through AFIS. I was wondering if
       there were any prints back yet. Sorry to bother you. The FDA is asking me. This is
       part of a case that is set to go to trial in February.

Exhibit D. As such, the Detective is plainly part of the prosecution team for the purpose of the

print inquiry, and her knowledge is imputed to the federal prosecutor. See Kyles, 514 U.S. at 437.



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          In short, this Court’s order required production of this evidence. Yet, 58 days after the

report’s production to the Detective and 11 days after this Court’s deadline, the prosecution still

had yet to give it to the defense. Indeed, on the deadline, the prosecutor denied knowledge of the

report.

          The defense respectfully moves for appropriate sanction. “Any sanction imposed should

be the least severe penalty necessary to ensure compliance with the court's discovery orders.”

United States v. Dvorin, 817 F.3d 438, 453 (5th Cir. 2016). There are two aspects to this standard:

the sanction cannot be more severe than necessary, but it must be stern enough to ensure

compliance with this Court’s orders. That requires a measure of deterrence, and not merely the

resolution of a single violation.

          “The following factors should guide a district court's exercise of its discretion to impose

sanctions for a discovery violation: ‘(1) the reasons why disclosure was not made; (2) the amount

of prejudice to the opposing party; (3) the feasibility of curing such prejudice with a continuance

of the trial; and (4) any other relevant circumstances.’” Dvorin, 817 F.3d at 453 (quoting United

States v. Garrett, 238 F.3d 293, 298 (5th Cir.2000)). Application of these factors will likely

demand a sanction.

          The current record is not sufficiently developed as regards the first factor. The Court

should hear evidence on this point.

          The second and third factors weigh in favor of sanctions. Had the violation been

discovered earlier, the defense could have sought an expert to assess the likelihood that a person

who handled the bag would have left a latent print, given the known fact that someone who

handled the bag did in fact leave a print. As it happens, however, the disclosure occurred after the

defense’s expert notice deadline. Further, the defense certainly would have filed a Notice of



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Expert Testimony for Elizabeth Molina. The defense now has to file a Motion for Leave to File

Out of Time to seek permission to add her as an expert witness for the defense.

        Of course, the defense actually did independently discover the violation, which tends to

mitigate the prejudice. But this will always be the case when the Court is in a position to sanction

a discovery violation -- the Court does not sanction violations of which it is unaware. If anything,

the means by which the discovery occurred weighs in favor of relief. In some cases, the

prosecution itself will have brought a late disclosure to the attention of the defense and the

prosecution. Here, however, the Court cannot be sure whether the disclosure would ever have

been made without the defense’s intervention, or at least it cannot be sure of this fact on the

current record. In fact, the prosecutor affirmatively denied knowing that the report existed 47

days after it was disclosed to the prosecution team and has not yet disclosed it to the defense 21

days before trial is set to commence.

        A continuance will not eliminate prejudice to the defense. Dr. Ortiz has been in pretrial

custody for 18 months and desires a rapid resolution of his case. Extending his term of pretrial

detention and delaying his opportunity for acquittal represents a form of prejudice, not an

avoidance of it.

        The most significant consideration in determining the appropriate response, however,

falls within the fourth prong of this test: the discovery violation involved obviously favorable

Brady material, rather than mere discoverable material under Rule 16. 2 Brady is a core protection

against wrongful conviction, and of particular significance in a case that could produce a life

sentence. Indeed, “[r]esearch has linked wrongful convictions to the failure to disclose

exculpatory evidence, with an empirical study identifying Brady violations as one of nine


2
 Notably, the government con�nues to provide ordinary Rule 16 material. It sent another batch of Rule 16
documents this morning, without including the ﬁngerprint report.

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primary sources.” John B. Gould, et al, Mapping the Path of Brady Violations: Typologies,

Causes & Consequences in Erroneous Conviction Cases, 71 Syr. L. Rev. 1061, 1064 (2021)

(citing Brian Gregory, Brady is the Problem: Wrongful Convictions and the Case for “Open

File” Criminal Discovery, 46 U. S.F. L. Rev. 819, 821 (2012), Jon B. Gould, et al, Predicting

Erroneous Convictions, 99 Iowa L. Rev. 471, 477 (2014), and J. Paul Johnson, Study Reveals 10

Factors in Wrongful Conviction Cases, Am. Univ. (Mar. 11, 2013),

https://www.american.edu/media/news/spa_news_wrongful-convictions-study.cfm). Brady is a

deadly serious matter, and this Court should treat it as such.

       As such, the Defense requests that the Court convene a hearing at which it may receive

evidence regarding the circumstance of the government’s non-disclosure. It further requests that

the Court consider the following relief, in descending order of preference:

   1. dismissal of the Indictment;

   2. preclusion of any evidence obtained during or regarding the cardiac event that occurred

       during the surgery of Mr. Alderstein;

   3. issuance of a Jury Instruction informing the jury that material and favorable evidence had

       been suppressed by the prosecution and/or investigating officer, and that it should draw

       an unfavorable inference toward the prosecution, which inference may alone be sufficient

       to acquit the defendant;

   4. issuance of a Jury Instruction telling the jury that if it finds that material and favorable

       evidence has been suppressed, it may draw an unfavorable inference toward the

       prosecution, which inference may alone be sufficient to acquit the defendant;

   5. admission of evidence from the defense regarding the suppression of the evidence;




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6. appointment of a special master to audit the government’s production of discovery

   material;

7. a requirement that supervisory attorneys in the United States Attorney’s Office attest that

   they have reviewed the evidence in the case and can confirm that all discoverable

   material has been produced;

8. permission to the defense to present unnoticed experts, or to give notice after the

   deadline;

9. such other relief as may be necessary to enforce the Court’s order.

                                     CONCLUSION

   The defense respectfully moves for a pre-trial hearing for the relief discussed herein.



                                                 Respectfully submitted,

                                                 /s/ John M. Nicholson
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                                CERTIFICATE OF SERVICE


       I hereby certify that on March 11, 2024, I electronically filed the foregoing document

using the Court’s CM/ECF system, thereby providing service on attorneys of record.


                                            /s/ John M. Nicholson
                                            JOHN M. NICHOLSON




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